   Case: 1:17-cv-05648 Document #: 166 Filed: 10/18/19 Page 1 of 9 PageID #:2331




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THOR ZURBRIGGEN, DENA CATAN,                       )
HALEY JOHNSON, LYNNETTE CHESTER,                   )
KIMBERLY JOHNSON, JOSEPH CATAN,                    )
BARBARA BELL, DOUG CRUMRINE,                       )
LAJUAN PRESTON, TIMOTHY TERRY,                     )
JULIETTE          ONODY,       CONSTANCE           )
GERMOND MCCORD, TIMOTHY R.                         )
AKERS, JULIE BURKE, PATRICIA                       )   Case No. 1:17-cv-05648
BEHNKE, EDWARD J. BURKE, STEPHEN                   )
WEIGEL, DORA A. BROWN BRANCH,                      )   Hon. John J. Tharp, Jr.
SOAD       HAMDAN,        VICKIE       ISAAC,      )
DEMETRIA ANDERSON, KEITH MAGINN,                   )   Magistrate Judge Jeffrey Cole
JUDITH J. DRAKE, DESIREE WEBBER-                   )
VAN BOXTEL, CHRISTINA NYAKAS,                      )
CHRISTINA H. ENDICOTT, SHERYL                      )
KELLY, SCOTT J. AUSTIN, MIN LI,                    )
CARLA J. PATTERSON, BOBBI GORDON,                  )
CARRIE BEAN, LISA JOY, KATHY L.                    )
RUNKLE, VERONICA VERA, JULIE F.                    )
KRESKO, SANDRA STUART, DEANNA                      )
JONES, and DEBORAH A. BRASIER on                   )
behalf of themselves and on behalf of all others   )
similarly situated,                                )
                                                   )
                     Plaintiffs,                   )
     v.                                            )
                                                   )
TWIN HILL ACQUISITION COMPANY,                     )
INC., a California corporation, AMERICAN           )
AIRLINES GROUP INC., a Delaware                    )
corporation, AMERICAN AIRLINES, INC., a            )
Delaware corporation, PSA AIRLINES, INC.,          )
a Pennsylvania corporation, ENVOY AIR              )
INC., a Delaware corporation,                      )
                                                   )
                    Defendants.                    )


                APPENDIX AA TO THE SECOND AMENDED COMPLAINT
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       572.    Plaintiff Thomas F. Howard Jr. (“Plaintiff Howard”), a pilot, is a resident and

citizen of Washington and is currently domiciled in North Bend, Washington. For purposes of 28

U.S.C. § 1332, Plaintiff Howard is a citizen of Washington. Plaintiff Howard is an employee of

American Airlines, Inc.

       573.    Plaintiff Howard experienced adverse reactions while wearing the Twin Hill

uniform. As a result, in or about March or April 2017 he stopped wearing the Twin Hill uniform

and began wearing an alternate uniform. But Plaintiff Howard continued to experience adverse

reactions when he worked around others who wore the Twin Hill uniforms and still does so. On

or about September 12, 2018, Plaintiff Howard submitted a Crewmember injury / illness report

with American and reported that he suffered an adverse reaction by being in proximity to a First

Officer he was flying with. Again, on or about May 29, 2019, Plaintiff Howard submitted a

Crewmember injury / illness report expressing his concern that First Officers were still wearing

components of the Twin Hill uniforms past the official cutoff dates to get out of them for pilots.

In the report, Plaintiff Howard expressed his concerns for his colleagues and himself who react to

the Twin Hill uniforms. At no time did American ever reassign Plaintiff Howard so that he would

not have to work around the Twin Hill uniforms. American knew that Plaintiff Howard was

suffering, and would continue to suffer, proximity reactions, and instead of taking steps to

ameliorate his suffering knowingly continued to cause him bodily harm. Each time that American

assigned Plaintiff Howard to work with others who were wearing Twin Hill uniforms while

knowing that he would suffer a proximity reaction was a separate, intentional tort by American.

       574.    Plaintiff Howard asserts Counts I-VI against Defendants, and seeks to represent

both the Uniform Class and Proximity Reactor Class.
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THOR ZURBRIGGEN, DENA CATAN,                       )
HALEY JOHNSON, LYNNETTE CHESTER,                   )
KIMBERLY JOHNSON, JOSEPH CATAN,                    )
BARBARA BELL, DOUG CRUMRINE,                       )
LAJUAN PRESTON, TIMOTHY TERRY,                     )
JULIETTE          ONODY,       CONSTANCE           )
GERMOND MCCORD, TIMOTHY R.                         )
AKERS, JULIE BURKE, PATRICIA                       )   Case No. 1:17-cv-05648
BEHNKE, EDWARD J. BURKE, STEPHEN                   )
WEIGEL, DORA A. BROWN BRANCH,                      )   Hon. John J. Tharp, Jr.
SOAD       HAMDAN,        VICKIE       ISAAC,      )
DEMETRIA ANDERSON, KEITH MAGINN,                   )   Magistrate Judge Jeffrey Cole
JUDITH J. DRAKE, DESIREE WEBBER-                   )
VAN BOXTEL, CHRISTINA NYAKAS,                      )
CHRISTINA H. ENDICOTT, SHERYL                      )
KELLY, SCOTT J. AUSTIN, MIN LI,                    )
CARLA J. PATTERSON, BOBBI GORDON,                  )
CARRIE BEAN, LISA JOY, KATHY L.                    )
RUNKLE, VERONICA VERA, JULIE F.                    )
KRESKO, SANDRA STUART, DEANNA                      )
JONES, and DEBORAH A. BRASIER on                   )
behalf of themselves and on behalf of all others   )
similarly situated,                                )
                                                   )
                     Plaintiffs,                   )
     v.                                            )
                                                   )
TWIN HILL ACQUISITION COMPANY,                     )
INC., a California corporation, AMERICAN           )
AIRLINES GROUP INC., a Delaware                    )
corporation, AMERICAN AIRLINES, INC., a            )
Delaware corporation, PSA AIRLINES, INC.,          )
a Pennsylvania corporation, ENVOY AIR              )
INC., a Delaware corporation,                      )
                                                   )
                    Defendants.                    )


                APPENDIX BB TO THE SECOND AMENDED COMPLAINT
   Case: 1:17-cv-05648 Document #: 166 Filed: 10/18/19 Page 4 of 9 PageID #:2331




       572.    Plaintiff Kimberly Seiber (“Plaintiff Seiber”), a flight attendant, is a resident and

citizen of Ohio and is currently domiciled in Huber Heights, Ohio. For purposes of 28 U.S.C. §

1332, Plaintiff Seiber is a citizen of Ohio. Plaintiff Seiber is an employee of PSA Airlines, Inc.

       573.    Plaintiff Seiber experienced adverse reactions while wearing the Twin Hill

uniform. In or about February 2016, Plaintiff Seiber went to get fitted for her Twin Hill uniform.

Unbeknownst to her, from that date until May 2016, she experienced adverse reactions to the Twin

Hill uniforms because she was in constant proximity to the uniforms as she frequented a room in

Charlotte, North Carolina that housed a large amount of the Twin Hill uniforms for purposes of

fitting other American Airlines employees.

       574.    Not knowing her adverse reactions were caused by the uniforms, she was forced to

take medical leave in or about May 2016 because of her mounting health problems. She has been

on leave ever since.

       575.    Later, in or about July 2016, Plaintiff Seiber received the Twin Hill uniforms in or

and experienced adverse reactions and as a result returned the uniforms for a non-wool uniform

from Twin Hill. Plaintiff Seiber also had an adverse reaction to the non-wool option she received.

       576.    Nonetheless, Plaintiff Seiber experiences ongoing proximity reactions because of

the Twin Hill uniforms because of the effects of sensitization to chemicals caused by the Twin Hill

uniforms as she now reacts when she is proximity to certain everyday items such as clothing, bath

soaps, and detergents.

       577.    Plaintiff Seiber was recently diagnosed with autoimmune rheumatoid arthritis in or

about May 2019.

       578.    Plaintiff Seiber asserts Counts I-V against Twin Hill only and seeks to represent

the Uniform Class.
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THOR ZURBRIGGEN, DENA CATAN,                       )
HALEY JOHNSON, LYNNETTE CHESTER,                   )
KIMBERLY JOHNSON, JOSEPH CATAN,                    )
BARBARA BELL, DOUG CRUMRINE,                       )
LAJUAN PRESTON, TIMOTHY TERRY,                     )
JULIETTE          ONODY,       CONSTANCE           )
GERMOND MCCORD, TIMOTHY R.                         )
AKERS, JULIE BURKE, PATRICIA                       )   Case No. 1:17-cv-05648
BEHNKE, EDWARD J. BURKE, STEPHEN                   )
WEIGEL, DORA A. BROWN BRANCH,                      )   Hon. John J. Tharp, Jr.
SOAD       HAMDAN,        VICKIE       ISAAC,      )
DEMETRIA ANDERSON, KEITH MAGINN,                   )   Magistrate Judge Jeffrey Cole
JUDITH J. DRAKE, DESIREE WEBBER-                   )
VAN BOXTEL, CHRISTINA NYAKAS,                      )
CHRISTINA H. ENDICOTT, SHERYL                      )
KELLY, SCOTT J. AUSTIN, MIN LI,                    )
CARLA J. PATTERSON, BOBBI GORDON,                  )
CARRIE BEAN, LISA JOY, KATHY L.                    )
RUNKLE, VERONICA VERA, JULIE F.                    )
KRESKO, SANDRA STUART, DEANNA                      )
JONES, and DEBORAH A. BRASIER on                   )
behalf of themselves and on behalf of all others   )
similarly situated,                                )
                                                   )
                     Plaintiffs,                   )
     v.                                            )
                                                   )
TWIN HILL ACQUISITION COMPANY,                     )
INC., a California corporation, AMERICAN           )
AIRLINES GROUP INC., a Delaware                    )
corporation, AMERICAN AIRLINES, INC., a            )
Delaware corporation, PSA AIRLINES, INC.,          )
a Pennsylvania corporation, ENVOY AIR              )
INC., a Delaware corporation,                      )
                                                   )
                    Defendants.                    )


                APPENDIX CC TO THE SECOND AMENDED COMPLAINT
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       579.    Plaintiff Tessica Sizemore (“Plaintiff Sizemore”), a flight attendant, is a resident

and citizen of Tennessee and is currently domiciled in Antioch, Tennessee. For purposes of 28

U.S.C. § 1332, Plaintiff Sizemore is a citizen of Tennessee. Plaintiff Sizemore is an employee of

American Airlines, Inc.

       580.    Plaintiff Sizemore had adverse reactions while wearing the Twin Hill uniform. As

a result, in or about June 2017 she stopped wearing the Twin Hill uniform and began wearing an

alternate uniform. But Plaintiff Sizemore continued to experience adverse reactions when she

worked around others who wore the Twin Hill uniforms. Plaintiff Sizemore, despite continuing to

suffer from proximity reactions, has not yet reported her proximity reactions to American. This

pleading serves as such notification. Plaintiff Sizemore asserts claims against American going

forward for any failure by American to take steps to ameliorate her suffering and for every time in

which American assigns Plaintiff Sizemore to work with others who are wearing the Twin Hill

uniforms.

       581.    Plaintiff Sizemore asserts Counts I-VI against Defendants, and seeks to represent

both the Uniform Class and Proximity Reactor Class.
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THOR ZURBRIGGEN, DENA CATAN,                       )
HALEY JOHNSON, LYNNETTE CHESTER,                   )
KIMBERLY JOHNSON, JOSEPH CATAN,                    )
BARBARA BELL, DOUG CRUMRINE,                       )
LAJUAN PRESTON, TIMOTHY TERRY,                     )
JULIETTE          ONODY,       CONSTANCE           )
GERMOND MCCORD, TIMOTHY R.                         )
AKERS, JULIE BURKE, PATRICIA                       )   Case No. 1:17-cv-05648
BEHNKE, EDWARD J. BURKE, STEPHEN                   )
WEIGEL, DORA A. BROWN BRANCH,                      )   Hon. John J. Tharp, Jr.
SOAD       HAMDAN,        VICKIE       ISAAC,      )
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KELLY, SCOTT J. AUSTIN, MIN LI,                    )
CARLA J. PATTERSON, BOBBI GORDON,                  )
CARRIE BEAN, LISA JOY, KATHY L.                    )
RUNKLE, VERONICA VERA, JULIE F.                    )
KRESKO, SANDRA STUART, DEANNA                      )
JONES, and DEBORAH A. BRASIER on                   )
behalf of themselves and on behalf of all others   )
similarly situated,                                )
                                                   )
                     Plaintiffs,                   )
     v.                                            )
                                                   )
TWIN HILL ACQUISITION COMPANY,                     )
INC., a California corporation, AMERICAN           )
AIRLINES GROUP INC., a Delaware                    )
corporation, AMERICAN AIRLINES, INC., a            )
Delaware corporation, PSA AIRLINES, INC.,          )
a Pennsylvania corporation, ENVOY AIR              )
INC., a Delaware corporation,                      )
                                                   )
                    Defendants.                    )


                APPENDIX DD TO THE SECOND AMENDED COMPLAINT
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       582.    Plaintiff Katherine Christensen (“Plaintiff Christensen”), a flight attendant, is a

resident and citizen of Pennsylvania and is currently domiciled in Essington, Pennsylvania. For

purposes of 28 U.S.C. § 1332, Plaintiff Christensen is a citizen of Pennsylvania. Plaintiff

Christensen is an employee of American Airlines, Inc.

       583.    Plaintiff Christensen had adverse reactions while wearing the Twin Hill uniform.

As a result, in or about December 2016 she stopped wearing the Twin Hill uniform and began

wearing an alternate uniform. But Plaintiff Christensen continued to experience adverse reactions

when she worked around others who wore the Twin Hill uniforms. Plaintiff Christensen informed

two different Flight Service Managers that she was still experiencing proximity reactions because

of the Twin Hill uniforms sometime in or about the spring of 2017. At no time did American ever

reassign Plaintiff Christensen so that he would not have to work around the Twin Hill uniforms.

American knew that Plaintiff Christensen was suffering, and would continue to suffer, proximity

reactions, and instead of taking steps to ameliorate her suffering knowingly continued to cause her

bodily harm. Each time that American assigned Plaintiff Christensen to work with others who were

wearing Twin Hill uniforms while knowing that she would suffer a proximity reaction was a

separate, intentional tort by American.

       584.    Plaintiff Christensen asserts Counts I-VI against Defendants, and seeks to represent

both the Uniform Class and Proximity Reactor Class.
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                                 CERTIFICATE OF SERVICE


       The undersigned, an attorney, certifies that the foregoing Appendices AA through

DD to Plaintiffs’ Second Amended Class Action Complaint was filed electronically with

the Clerk of the Court using the CM/ECF system on this 18th day of October 2019, and served

electronically on all counsel of record.



                                           /s/ Charles J. Gower
